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                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MINNESOTA

In Re: Hanson, Heather




                                                      BKY No. 17-31089
                                                                                          Chapter 13 Case
                  Debtor



                           UNSWORN DECLARATION FOR PROOF OF SERVICE

         I, Bennett Hartz, declare under penalty of perjury, that today I mailed copies of Heather Hanson's Motion to
Vacate Dismissal, its hearing continued to December 12, 2018 at 11:00 a.m., by first class mail, postage prepaid, to
each entity named below and to each entity named on the attached list, at the address stated for each entity:

All Creditors on Attached List

Executed on: November 28, 2018                        /s/ Bennett Hartz
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